   Case: 1:18-cv-03964 Document #: 56 Filed: 08/21/18 Page 1 of 4 PageID #:1144



                       THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

CIBC Bank USA f/k/a The Private Bank and            )
Trust Company, as Administrative Agent,             )
                                                    )
                      Plaintiff,                    )    Civil Action No. 18-cv-3964
                                                    )
              v.                                    )
                                                    )    Judge John Z. Lee
JH Portfolio Debt Equities, LLC; JH Portfolio       )
Debt Equities 2, LLC; JH Portfolio Debt             )    Magistrate Judge Daniel G. Martin
Equities 4, LLC; and JH Reviver LLC,                )
                                                    )
              Defendants.                           )

     DEFENDANTS’ UNOPPOSED MOTION TO SEAL DOCKET ENTRY NO. 52

       Defendants JH Portfolio Debt Equities, LLC, JH Portfolio Debt Equities 2, LLC, JH

Portfolio Debt Equities 4, LLC, and JH Reviver LLC (collectively, “JH” or “Defendants”),

respectfully request that the Court seal docket entry no. 52, titled “Notice of Service of

Defendants’ Initial Discovery Responses Submitted Pursuant to the Northern District of Illinois

Mandatory Initial Discovery Pilot Program.” (See Doc. 52.) In support, Defendants state the

following:

       1.     Through its Order dated July 24, 2018, the Court instructed the parties to

exchange their initial discovery responses under the Mandatory Initial Discovery Pilot Project by

August 20, 2018. (Doc. 35.)

       2.     Under the Northern District of Illinois Standing Order Regarding Mandatory

Initial Discovery Pilot Project (the “MIDP Standing Order”), “[u]nless the Court orders

otherwise, initial responses and later supplements shall not be filed with the Court, but Parties

shall file a notice of service of their initial responses and later supplements.” (MIDP Standing

Order at A.5 (emphasis added).)
    Case: 1:18-cv-03964 Document #: 56 Filed: 08/21/18 Page 2 of 4 PageID #:1145



       3.      On August 20, 2018, Defendants served their initial discovery responses upon

Plaintiff. The initial discovery responses contain confidential and sensitive business information.

       4.      Although intending to file a notice of service with the Court, counsel for JH

mistakenly filed Defendants’ initial discovery responses. (See Doc. 52.)

       5.      Counsel for Defendants identified the error immediately and attempted to contact

the Northern District of Illinois Help Desk (the “Help Desk”) to have Defendants’ initial

discovery responses sealed temporarily. However, because the filing was completed after the

close of business hours, counsel was unable to reach anyone at the Help Desk. Counsel for

Defendants then filed the correct notice of service with the Court. (See Doc. 53.)

       6.       The next morning, on August 21, 2018, counsel for Defendants contacted the

Help Desk, and docket entry no. 52 was placed under seal temporarily.

       7.      Pursuant to Northern District of Illinois Local Rule 26.2(b), this Court may, for

good cause, enter an order directing that a document be filed under seal. Good cause exists to

place docket entry no. 52 under seal. Per the MIDP Standing Order, the parties’ initial discovery

responses “shall not be filed with the Court,” unless the Court orders otherwise. (MIDP Standing

Order at A.5.) The Court did not instruct the parties to file their initial discovery responses.

       8.      In addition, Defendants’ initial discovery responses contain confidential and

sensitive business information intended to be kept non-public. The continued availability of the

initial discovery responses on this Court’s docket will prejudice both Plaintiff and Defendants.

       9.      Counsel for the parties have conferred about this Motion and counsel for Plaintiff

does not oppose this motion.




                                                  2
    Case: 1:18-cv-03964 Document #: 56 Filed: 08/21/18 Page 3 of 4 PageID #:1146



       WHEREFORE, Defendants respectfully request that the Court seal the entirety of docket

entry no. 52 and grant such other and further relief as this Court deems just and proper.


Dated: August 21, 2018                               Respectfully submitted,

                                                     /s/ Martin V. Sinclair, Jr.
                                                     Greg Shinall
                                                     Martin Sinclair
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                                                     Counsel for the Defendants
                                                     JH Portfolio Debt Equities, LLC;
                                                     JH Portfolio Debt Equities 2, LLC;
                                                     JH Portfolio Debt Equities 4, LLC; and
                                                     JH Reviver LLC




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   Case: 1:18-cv-03964 Document #: 56 Filed: 08/21/18 Page 4 of 4 PageID #:1147



                              CERTIFICATE OF SERVICE

       I, Martin Sinclair, hereby certify that on August 21, 2018, I caused a true and correct
copy of the foregoing Defendants’ Unopposed Motion to Seal Docket Entry No. 52 to be
served upon the following individuals via ECF Electronic Case Filing:

                                    Edward S. Weil
                                    Mark A. Silverman
                                    Jonathan E. Aberman
                                    Melanie Jeanne Chico
                                    Molly E. Thompson
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                                                  /s/ Martin V. Sinclair, Jr.
